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                 EXHIBIT B
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                 ORIGINAL CONTRIBUTION




           Comparison of Presenting Complaint
           vs Discharge Diagnosis for Identifying
           “Nonemergency” Emergency Department Visits
           Maria C. Raven, MD, MPH, MSc                  Importance Reduction in emergency department (ED) use is frequently viewed as
           Robert A. Lowe, MD, MPH                       a potential source for cost savings. One consideration has been to deny payment if
           Judith Maselli, MSPH                          the patient’s diagnosis upon ED discharge appears to reflect a “nonemergency” con-
                                                         dition. This approach does not incorporate other clinical factors such as chief com-
           Renee Y. Hsia, MD, MSc                        plaint that may inform necessity for ED care.




           W
                           ITH INCREASING MEDI -         Objective To determine whether ED presenting complaint and ED discharge diag-
                           cal care costs, policy-       nosis correspond sufficiently to support use of discharge diagnosis as the basis for poli-
                           makers have turned to         cies discouraging ED use.
                           emergency department          Design, Setting, and Participants The New York University emergency depart-
           (ED) utilization as a potential source        ment algorithm has been commonly used to identify nonemergency ED visits. We ap-
           for cost savings. Although the assump-        plied the algorithm to publicly available ED visit data from the 2009 National Hospital
           tions driving this policy approach are        Ambulatory Medical Care Survey (NHAMCS) for the purpose of identifying all “pri-
                                                         mary care–treatable” visits. The 2009 NHAMCS data set contains 34 942 records, each
           unproven,1 recent attempts to reduce          representing a unique ED visit. For each visit with a discharge diagnosis classified as
           ED use have occurred in Medicaid pro-         primary care treatable, we identified the chief complaint. To determine whether
           grams.2-6 If implemented for patients in      these chief complaints correspond to nonemergency ED visits, we then examined all
           Medicaid programs, it is likely that such     ED visits with this same group of chief complaints to ascertain the ED course, final
           practices may result in similar policies      disposition, and discharge diagnoses.
           by other payers, potentially affecting ac-    Main Outcomes and Measures Patient demographics, clinical characteristics,
           cess to ED care for other segments of         and disposition associated with chief complaints related to nonemergency ED
           the population.                               visits.
              One approach aimed at reducing ED          Results Although only 6.3% (95% CI, 5.8%-6.7%) of visits were determined to
           use has been to deny or limit payment         have primary care–treatable diagnoses based on discharge diagnosis and our modi-
           if the patient’s diagnosis on discharge       fication of the algorithm, the chief complaints reported for these ED visits with pri-
           from the ED appears to reflect a “non-        mary care–treatable ED discharge diagnoses were the same chief complaints
           emergency” condition.3,7,8                    reported for 88.7% (95% CI, 88.1%-89.4%) of all ED visits. Of these visits, 11.1%
              Legislatures or regulators in Tennes-      (95% CI, 9.3%-13.0%) were identified at ED triage as needing immediate or emer-
           see, Iowa, New Hampshire, and Illi-           gency care; 12.5% (95% CI, 11.8%-14.3%) required hospital admission; and
                                                         3.4% (95% CI, 2.5%-4.3%) of admitted patients went directly from the ED to the
           nois have considered or enacted legis-
                                                         operating room.
           lation or regulations that would limit
           payment for nonemergency ED visits            Conclusions and Relevance Among ED visits with the same presenting com-
                                                         plaint as those ultimately given a primary care–treatable diagnosis based on ED dis-
           by Medicaid enrollees, based on dis-
                                                         charge diagnosis, a substantial proportion required immediate emergency care or hos-
           charge diagnosis. Other states, includ-       pital admission. The limited concordance between presenting complaints and ED discharge
           ing Arizona, Oregon, Illinois, Iowa, Ne-      diagnoses suggests that these discharge diagnoses are unable to accurately identify
           braska, North Carolina, and New               nonemergency ED visits.
           Mexico, have recently implemented or          JAMA. 2013;309(11):1145-1153                                                                      www.jama.com
           considered implementing some level of
           copayment requirement for nonemer-
                                                         Author Affiliations: Departments of Emergency Medi-        Preventive Medicine, Center for Policy and Research
                                                         cine (Drs Raven and Hsia) and Medicine (Ms Ma-             in Emergency Medicine, Oregon Health and Science
           For editorial comment see p 1173.             selli), University of California, San Francisco, and De-   University, Portland (Dr Lowe).
                                                         partment of Emergency Medicine, San Francisco              Corresponding Author: Maria C. Raven, MD, MPH, MSc,
           Author Interview available at                 General Hospital, San Francisco (Dr Hsia); and De-         Department of Emergency Medicine, University of Cali-
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           PRESENTING COMPLAINT VS DISCHARGE DIAGNOSIS


           gency use of the ED (Craig Price, MD,         latory visits made to non-federal, gen-      “overuse” of EDs in several states (eg,
           American College of Emergency Phy-            eral, and short-stay U.S. hospitals con-     Connecticut,16 Oregon,17 and Massa-
           sicians, written communications, April        ducted by the Centers for Disease            chusetts18) and, in modified form, as a
           13, 2012, and February 11, 2013).             Control and Prevention, National Cen-        basis for denying payment for ED vis-
              Although criteria for determining          ter for Health Statistics (NCHS). Al-        its in Washington state.9,12
           nonemergency ED visits vary by state          though the survey includes visits to se-        We selected the ED algorithm as the
           and no systematic review of states’ prac-     lected ambulatory care departments,          basis for classifying nonemergency ED
           tices is available, Washington state re-      this analysis focuses solely on the vis-     visits for this study, both because of its
           cently drew attention for a proposal in       its to hospital emergency departments        use for similar purposes and because its
           which the payer may make a determi-           (EDs). The multi-staged sample de-           classification system is more evidence
           nation about payment based only on the        sign is comprised of three stages for the    based than others that have been pro-
           ED discharge diagnosis and whether the        ED component: 1) 112 geographic pri-         posed. The algorithm was developed
           patient is hospitalized during the ED         mary sampling units (PSUs); 2) ap-           with input from emergency physicians
           visit, without other clinical informa-        proximately 480 hospitals within PSUs;       and based on ED visit data abstracted
           tion.9 Other states appear to have simi-      and 3) patient visits within emer-           from 5700 records. After excluding vis-
           lar practices.                                gency service areas.”11                      its for injuries, mental health, and drug-
              For this approach to be effective at          According to the NHAMCS proto-            and alcohol-related conditions, physi-
           reducing nonemergency ED use with-            col, trained hospital staff members ab-      cian reviewers used data including chief
           out discouraging ED use for more se-          stract ED visit data using a structured      complaint, demographic data, duration
           rious conditions, it would be neces-          data entry form during 4-week data pe-       of symptoms, presenting vital signs, and
           sary to predict discharge diagnosis           riods randomly assigned for each             medical history to classify visits as emer-
           based on information available before         sampled hospital. The sampled data are       gent, requiring care in less than 12 hours
           the patient is seen in the ED—ie, based       extrapolated to national estimates           or nonemergent. Emergent cases were
           on presenting symptoms. Many have             through use of assigned patient visit        then further categorized as emergency, pri-
           questioned whether this approach is           weights, which account for probabil-         mary care treatable or emergency, ED
           possible. For example, a 65-year-old pa-      ity of visit selection, nonresponse, and     needed, based on whether the resources
           tient with diabetes may be discharged         ratio of sampled hospitals to hospital       required (including radiology, blood
           with the nonemergency diagnosis of            universe. The study was exempt from          work, etc) are normally available in the
           gastroesophageal reflux after present-        review by the institutional review board     outpatient setting, in the judgment of the
           ing with a chief complaint of chest pain;     of the University of California, San         algorithm’s creators. In addition, ED
           however, that patient still required an       Francisco.                                   needed visits were categorized based on
           emergency evaluation to rule out acute                                                     whether they were preventable or avoid-
           coronary syndrome. In addition, there         Key Variables                                able with timely and effective outpa-
           is concern that this approach of limit-       ED Visit With “Primary Care–Treatable        tient care.15,19
           ing payment based on discharge diag-          Diagnosis” Based on ED Discharge                The final step in the development of
           nosis may violate the prudent layper-         Diagnosis. We sought a method for            the algorithm was designed to allow the
           son standard, which establishes the           identifying nonemergency ED visits that      algorithm to be applied to administra-
           “criteria that insurance coverage is          would maximize the probability of suc-       tive data sets. To do so, the above clas-
           based not on ultimate diagnosis, but on       cessfully classifying such visits based on   sifications were mapped to the dis-
           whether a prudent person might an-            the ED discharge diagnosis. Although         charge diagnoses for each case in the
           ticipate serious impairment to his or her     the process for defining nonemer-            sample to determine the percentage of
           health in an emergency situation.”10          gency diagnoses varies by state and vari-    sample cases in each of the 4 catego-
              The purpose of this study was to de-       ous lists of nonemergency diagnoses          ries for each diagnosis.14 As stated else-
           termine the association between ED            have been proposed,12,13 many are based      where, “[M]ultiple patients in the
           presenting complaint and ED dis-              at least in part on the emergency de-        sample were discharged with ICD-9 [In-
           charge diagnosis                              partment algorithm developed at New          ternational Classification of Diseases,
                                                         York University.14,15 Although the algo-     Ninth Revision] code 789.00 (abdomi-
           METHODS                                       rithm was developed for other pur-           nal pain, unspecified site). All were
           Study Design and Data Source                  poses and the developers caution that        deemed to require care within 12 hours
           This study is a secondary analysis of         “the algorithm is not intended as a tri-     and were classified as emergent. Two-
           data collected in the 2009 National Hos-      age tool or as a mechanism to deter-         thirds of these patients were managed
           pital Ambulatory Medical Care Survey          mine whether ED use is appropriate for       with resources available in primary care
           (NHAMCS). As described by its devel-          required reimbursement by a man-             settings, while one-third received in-
           opers, “[t]he NHAMCS is an annual,            aged care plan,”15 it has been used by       terventions not available outside the
           national probability sample of ambu-          policy makers both to characterize           ED. Therefore, the ICD-9 code 789.00
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                                                                                         PRESENTING COMPLAINT VS DISCHARGE DIAGNOSIS


           is assigned a 0.67 probability of emer-
                                                         Figure. Algorithm for Creation of “Nonemergency-Complaint” Emergency Department Visits
           gency, primary care–treatable and a 0.33      Based on New York University Emergency Department Algorithm a
           probability of emergent, ED needed.”20
               Weused2additionalstrategiestomaxi-
                                                                                                34 942 ED visit records in 2009 NHAMCS
           mize the probability that our classifica-
           tionsystemwouldidentifyonlynonemer-                                              Apply NYU ED algorithm to assign each
                                                                                            ED discharge diagnosis a probability of
           gency ED visits. First, based on the ED                                          falling into each of 4 ED visit categories
           discharge diagnosis, we classified a visit
           as a primary care–treatable diagnosis only        Emergent,         Emergent,          Emergent,           Nonemergent
           if the algorithm predicted a 100% prob-        ED care needed     ED care needed     Primary care –
           ability that of the diagnosis was primary       (preventable)    (not preventable)      treatable
           care treatable (FIGURE). This approach                                                                Identify ED visits with a discharge
           leads to a more limited number of pri-                                                                diagnosis with 100% probability
           mary care–treatable diagnoses than that                                                               of being emergent, primary care –
                                                                                                                 treatable or nonemergent
           used by some other researchers.20-22 Sec-
           ond, because some policy makers have                                         2212 Primary care –treatable diagnosis
                                                                                             visits (192 ICD-9 primary care –
           proposed only denying payment for vis-                                            treatable diagnoses)
           its after which the patient was discharged                                                            Identify associated
           home, we excluded visits resulting in                                                                 presenting complaints
           hospital admission. By eliminating these                                                                                                    Filter 34 942 ED
           higher-acuity visits, we eliminated some                                      304 Nonemergency complaints for                               visit records for
                                                                                             the 2212 primary care –treatable                          nonemergency
           of the higher-risk chief complaints as-                                           diagnosis visits                                          complaints
           sociated with a diagnosis.
               Chief Complaints Associated With
           Nonemergency ED Visits. Because pa-                                                                                        30 827 Nonemergency-
           tients present to the ED with a chief com-                                                                                        complaint ED visits
           plaint, not with a discharge diagnosis, our
           next step in identifying nonemergency         ICD-9 indicates International Classification of Diseases, Ninth Revision.
                                                         a The algorithm was adapted in part from the emergency department (ED) algorithm developed at New York
           visits was to determine what chief com-       University (NYU).14,15
           plaints were associated with the primary
           care–treatable diagnoses (Figure). The
           NHAMCSdatabasecontainsafieldforthe                Based on the ED discharge diagnoses                 status. We also included triage catego-
           most important reason for visit, in which     for all the primary care–treatable diagno-              ries defined, on a scale of 1 to 5, by nurs-
           the patient’s chief complaint is coded ac-    sis visits, we generated a list of reasons for          ing staff as immediate, emergent, ur-
           cordingtoastandardizedclassificationsys-      the visits. We then identified all ED vis-              gent, semi-urgent, or nonurgent.27 Triage
           tem developed by the National Center for      its in the data set with reasons for visits             vital signs were classified as normal or
           Health Statistics (NCHS).23,24 Similar to     that were identical to those on our list.               abnormal using standards based on
           ICD-9-CM coding, it allows conversion         ThesearereferredtoasEDvisitswithnon-                    published guidelines.28,29 Pain scale was
           of free-text data into a structured system.   emergencycomplaints(Figure).Wechose                     by patient self-report on presentation,
           The reason-for-visit coding for chief com-    theterm,nonemergencycomplaintbecause,                   with a scale from 1 to 10, with 10 being
           plaints has been widely used by NCHS in       if it were possible to prospectively iden-              the most severe. We also identified
           NHAMCS and other surveys.25,26                tify ED visits with diagnoses on the pri-               whether patients arrived by ambulance.
               At each hospital, triage nurses docu-     marycare–treatablediagnosislist,thechief                   We ascertained whether the visit re-
           mentthepatient’schiefcomplaintaccord-         complaints resulting in these diagnoses                 sulted in hospital admission and, if so,
           ing to hospital protocol. Then, chart ab-     might not require ED care.                              whether the patient was admitted to an
           stractors trained by the NCHS review the          Variables Reflecting the Acuity of                  observation unit, to a standard bed, or to
           patient record and record the verbatim        ED Visits With Nonemergency                             a higher level of care. The NHAMCS does
           text,whichislaterclassifiedasachiefcom-       Complaints. Next, for the group of ED                   not distinguish between observation unit
           plaint using reason-for-visit codes by an     visits with nonemergency complaints,                    stays occurring in the ED and those
           NCHS contractor. “As part of the quality      we identified diagnoses, disposition,                   occurring in the inpatient facility. For the
           assurance procedure, a 10 percent qual-       and other key factors related to the pa-                purposes of this analysis, we grouped
           itycontrolsampleofPatientRecordForms          tient’s initial presentation and ED                     observation unit stays with inpatient ad-
           is independently keyed and coded. Error       course. Demographic variables in-                       missions, reasoning that an observation
           rates typically range between 0.3 and 0.9     cluded age, sex, race/ethnicity, insur-                 unit admission indicated that a patient
           percent for various survey items.”11          ance type, region, and urban or rural                   could not safely be discharged home.
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           PRESENTING COMPLAINT VS DISCHARGE DIAGNOSIS


           Statistical Analysis                                       would be expected to correspond to vis-                     its with primary care–treatable diagno-
           If the presenting complaint corre-                         its with primary care–treatable diagno-                     ses. Conversely, if the presenting com-
           sponded closely with the discharge di-                     ses. In this situation, the number of vis-                  plaint corresponded poorly with the
           agnosis, visits with nonemergency com-                     its with nonemergency complaints                            discharge diagnosis, multiple chief com-
           plaints based on the reasons for the visit                 would be similar to the number of vis-                      plaints would be expected to be asso-


           Table 1. Demographic Characteristics of Study Population With Original “Primary Care–Treatable” Diagnoses and “Nonemergency
           Complaint” Emergency Department Visits, NHAMCS 2009
                                                                      “Primary Care–Treatable” Diagnoses                             “Nonemergency Complaint” ED Visits

                                                                 No. of Unweighted                                               No. of Unweighted
                                                                  ED Visit Records              Weighted Proportion               ED Visit Records             Weighted Proportion
                                                                     (n = 2212) a                   (95% CI), %                     (n = 30 827)                   (95% CI), %
           Age, y
               Ͻ18                                                        467                      21.5 (19.0-23.9)                      7254                      24.7 (22.4-27.0)
               18-44                                                     1128                      51.5 (48.5-54.2)                     12 450                     39.6 (38.1-41.1)
               45-64                                                      439                      19.3 (17.4-21.3)                      6655                      21.4 (20.5-22.3)
               65-79 b                                                    111                       4.5 (3.4-5.6)                        2680                       8.6 (8.1-9.2)
               Ն80 b                                                       67                       3.1 (2.3-4.0)                        1788                       5.6 (5.2-6.1)
           Sex
               Female                                                    1337                      62.8 (59.9-65.7)                     17 223                     55.9 (54.9-56.8)
               Male                                                       875                      37.2 (34.3-40.1)                     13 604                     44.1 (43.2-45.1)
           Race/ethnicity
               Non-Hispanic white                                        1199                      56.3 (52.0-60.6)                     17 777                     59.1 (55.2-63.0)
               Non-Hispanic black                                         606                      28.1 (23.5-32.6)                      7151                      22.8 (19.1-26.4)
               Hispanic                                                    96                       3.1 (2.1-4.2)                        1293                       3.7 (2.4-5.0)
               Other                                                      311                      12.5 (9.9-15.2)                       4606                      14.4 (11.5-17.3)
           Insurance
               Private                                                    726                      33.2 (29.7-36.8)                     11 947                     39.0 (36.5-41.5)
               Medicare                                                   153                       6.7 (5.4-8.0)                        3319                      10.5 (9.6-11.3)
               Medicaid                                                   689                      32.2 (29.0-35.4)                      7908                      25.3 (23.0-27.6)
           Uninsured/self-pay                                             423                      18.8 (16.2-21.5)                      4701                      15.6 (13.9-17.3)
               Other                                                       56                       2.3 (1.5-3.2)                          964                      2.9 (2.3-3.5)
           Missing/unknown                                                165                       6.7 (4.2-9.3)                        1988                       6.7 (4.5-9.0)
           Triage category
               Immediate                                                   20 c                     1.4 (0.5-2.2)                          529                      1.8 (1.1-2.5)
               Emergent b                                                 119                       5.2 (3.7-6.8)                        2926                       9.3 (8.2-10.5)
               Urgent b                                                   755                      34.5 (31.0-38.0)                     12 836                     41.7 (39.6-43.8)
               Semiurgent                                                 900                      42.2 (38.5-45.8)                     10 552                     35.7 (33.5-38.0)
               Nonurgent b                                                314                      13.2 (10.7-15.8)                      2500                       7.9 (6.9-9.0)
           Triage not conducted                                           104                       3.5 (1.1-5.9)                        1484                       3.5 (1.3-5.8)
           Region
               Northeast                                                  559                      17.2 (13.5-20.9)                      7856                      18.0 (14.1-21.9)
               Midwest                                                    521                      26.7 (18.9-34.4)                      6664                      23.2 (16.9-29.6)
               South                                                      773                      39.1 (32.0-46.3)                     10 902                     39.7 (33.3-46.1)
               West                                                       359                      17.0 (11.9-22.1)                      5405                      19.1 (14.3-23.8)
           Metropolitan statistical area
               Urban                                                     1848                      80.2 (69.6-90.8)                     26 245                     82.0 (72.3-91.6)
               Rural                                                      364                      19.8 (9.2-30.4)                       4582                      18.0 (8.4-27.7)
           Seen within last 72 h
               Yes                                                         79                       3.3 (2.4-4.3)                        1151                       3.7 (3.4-4.1)
               No                                                        1801                      77.8 (70.9-84.8)                     24 990                     79.9 (75.1-84.7)
               Unknown                                                    332                      18.9 (11.7-26.0)                      4686                      16.4 (11.6-21.2)
           Discharged from hospital within last 7 d
               Yes                                                         33                       1.3 (0.7-2.0)                          720                      2.1 (1.7-2.5)
               No                                                        1327                      58.7 (51.5-65.8)                     18 243                     59.0 (52.7-65.2)
               Unknown                                                    852                      40.0 (32.7-47.3)                     11 864                     39.0 (32.7-45.3)
           Abbreviations: NHAMCS, National Hospital Ambulatory Medical Care Survey; ED, emergency department.
           a Number of records in the data set for each type of category (unweighted). Proportions, however, are calculated using survey weights.
           b Indicates significant difference (nonoverlapping 95% CI) between visits with primary care–treatable diagnoses and nonemergency-complaint ED visits.
           c Fewer than 30 records is considered an imprecise record by the National Center for Health Statistics.



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                                                                                                PRESENTING COMPLAINT VS DISCHARGE DIAGNOSIS


           ciated with each diagnosis and mul-           ever, the presenting complaints asso-                             These findings were similar for age-
           tiple diagnoses would be associated with      ciated with the ED visits (ie, nonemer-                        stratified subgroups. For children
           each complaint. In this situation, the        gency complaints) were also the                                younger than 18 years, 5.5% (95% CI,
           number of visits with nonemergency            presenting complaints for 88.7% (95%                           4.7%-6.3%) had primary care–
           complaints would exceed the number            CI, 88.1%-89.4%) of all ED visits, re-                         treatable diagnoses and 90.0% (95% CI,
           of visits with primary care–treatable di-     flecting poor correspondence be-                               88.6%-91.1%) had nonemergency com-
           agnoses. Therefore, we compared the           tween ED discharge diagnosis and chief                         plaints. For adults 65 years or older,
           proportion of ED visits with primary          complaint.                                                     3.2% (95% CI, 2.8%-3.8%) had pri-
           care–treatable diagnoses based on the
           ED discharge diagnosis to the propor-
                                                         Table 2. Severity of Illness Characteristics Associated With Original “Primary Care–Treatable”
           tion of ED visits with nonemergency           Diagnoses and “Nonemergency Complaint” ED Visits, NHAMCS 2009
           complaints based on the reason for the                                           “Primary Care–Treatable”                      “Nonemergency Complaint”
           visit. In addition, we calculated descrip-                                              Diagnoses                                     ED Visits
           tive statistics for nonemergency-                                                 No. of
           complaint ED visits, presenting fre-                                           Unweighted                                        No. of
           quencies, and proportions.                                                       ED Visit             Weighted              Unweighted ED                Weighted
                                                                                            Records              Proportion             Visit Records               Proportion
              We report actual ED visits from the             Vital Signs b               (n = 2212) a          (95% CI), %             (n = 30 827) a             (95% CI), %
           hospitals included in the NHAMCS              Respiratory rate
           sample, national estimates based on the            Normal                           787            36.1 (32.8-39.4)               10 038             33.5 (31.7-35.3)
           survey visit weights, and 95% confi-               Abnormal                        1336            60.1 (56.8-63.4)               19 307             61.8 (59.9-63.8)
           dence intervals based on standard er-              Missing                           89             3.8 (2.6-5.0)                  1482               4.7 (3.2-6.1)
           rors provided by NHAMCS. The analy-           Heart rate
                                                              Normal b                        1741            77.7 (74.7-80.6)               22 378             71.9 (69.9-74.0)
           ses follow recommendations on the                  Abnormal b                       343            16.1 (14.0-18.3)                6605              21.8 (20.8-22.8)
           NHAMCS website for using the sur-                  Missing                          128             6.2 (3.3-9.0)                  1844               6.2 (3.8-8.7)
           vey weights in the dataset to extrapo-        Blood pressure
           late from the dataset to all ED visits in          Normal b                        1303            58.9 (55.5-62.4)               16 665             52.7 (51.2-54.1)
           the United States.11 Confidence inter-             Abnormal b                       642            28.5 (25.6-31.5)               10 302             34.2 (32.7-35.8)
           vals were calculated using standard                Missing                          267            12.6 (10.3-14.8)                3858              13.1 (11.3-14.9)
           methods for survey data collected with        Pulse oximetry
           stratified sampling, based on weights              Normal                          1769            78.8 (74.5-83.2)               24 337             77.5 (74.1-81.1)
           provided by NHAMCS.30                              Abnormal                          76             3.7 (1.9-5.5)                  1904               6.6 (5.3-7.9)
                                                              Missing                          367            17.5 (13.3-21.7)                4586              15.9 (12.5-19.3)
              All estimates conform to NCHS stan-
                                                         Temperature
           dards.11 Unweighted estimates based on             Normal                          2086            93.9 (92.1-95.6)               27 530             88.4 (86.9-89.9)
           fewer than 30 records are considered               Abnormal c                        47             2.0 (1.3-2.6)                  1745               6.1 (5.5-6.7)
           unreliable by NCHS and are marked                  Missing                           79             4.2 (2.4-6.0)                  1552               5.5 (4.0-7.0)
           with a footnote. Estimates were suffi-        All vital signs
           ciently precise with a single year of data         All normal                       285            12.6 (10.5-14.7)                3265              10.4 (9.5-11.2)
           to avoid the need to combine multiple              Any abnormal                    1689            76.8 (74.5-79.2)               24 612             79.7 (78.2-81.3)
           years of NHAMCS data, which would                  All missing                      238            10.6 (9.0-12.1)                 2950               9.9 (8.3-11.5)
           have added complexity to the analyses         Mode of arrival
                                                              Ambulance b                       116            5.8 (4.3-7.2)                   4289             13.8 (12.8-14.8)
           given the changes in variable defini-
                                                              Other b                         1975            88.5 (86.2-90.8)               25 000             81.2 (80.0-82.5)
           tions (eg, triage category) over time. All
                                                              Missing/unknown                  121             5.8 (4.3-7.2)                  1538               5.0 (3.8-6.2)
           analyses were performed using SAS sta-
                                                         Pain scale
           tistical software version 9.2 (SAS Insti-          0-5                               802           34.8 (30.7-38.8)               11 906             38.0 (35.7-40.3)
           tute Inc) and SUDAAN version 10.0                  6-10                              899           41.3 (37.6-45.0)               11 623             38.0 (35.9-40.1)
           (RTI International).                               Missing                           511           23.9 (19.6-28.2)                7298              24.0 (20.6-27.4)
                                                         Abbreviations: NHAMCS, National Hospital Ambulatory Medical Care Survey; ED, emergency department.
           RESULTS                                       a Number of records in the data set for each type of category (unweighted). Proportions, however, are calculated using
                                                            survey weights.
           The 2009 NHAMCS data set contains             b The range of normal for breaths per minute is 30 to 60 for those younger than 1 year, 24 to 40 for those aged 1 to 2
                                                            years; 22 to 34 for those older than 2 to 5 years, 18-30 for those older than 6 to 12 years, and 12-16 for adults. The
           34 942 records, each representing a              range of normal for heart beats per minute is 100-160 for those younger than 1 year, 90 to 150 for aged 1 year to 2,
           unique ED visit. Of these visits, an es-         80 to 140 for those older than 2 to 5 years, 70 to 120 for those older than 6 to 12 years, and 60 to 100 for adults. The
                                                            range of normal systolic blood pressure is 60 mm Hg for neonates up to 28 days, 70 to 90 mm Hg for infants 1
           timated 6.3% (95% CI, 5.8%-6.7%) had             month to 1 year, 70 to 95 mm Hg for children 1 to 8 years, and 60 to 90 mm Hg for adults. Values that fell outside
                                                            (above or below) these ranges were considered abnormal. Abnormal temperature was defined as a recorded tem-
           primary care–treatable diagnoses based           perature above 38ЊC/100.4ЊF.
                                                         c Indicates significant difference between the visits with primary care–treatable diagnoses and nonemergency-
           on the ED discharge diagnosis and on
                                                            complaint ED visits.
           our modification of the algorithm. How-
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           mary care–treatable diagnoses and                               Of the ED visits for chief com-                          mediate or emergency care; 3.7% (95%
           86.9% (95% CI, 85.8%-88.1%) had                              plaints that were identical to chief com-                   CI, 3.4%-4.1%) of patients had been
           nonemergency complaints. (See eTables                        plaints generated by the group of ED                        seen in the same ED within the last 72
           1 and 2 for additional age-stratified re-                    visits with primary care–treatable di-                      hours; and 2.1% (95% CI, 1.7%-2.5%)
           sults, which are available at http://www                     agnoses, 11.1% (95% CI, 9.3%-                               had been discharged from a hospital
           .jama.com.)                                                  13.0%) had been triaged as needing im-                      within the past 7 days (TABLE 1). In ad-
                                                                                                                                    dition, 79.7% patients (95% CI, 78.2%-
                                                                                                                                    81.3%) had at least 1 abnormal triage
           Table 3. Disposition and Admitted Patients Location for “Nonemergency-Complaint”                                         vital sign recorded. Although the most
           Emergency Department Visits, NHAMCS 2009
                                                                                                                                    common vital sign abnormalities were
                                                                                 “Nonemergency-Complaint” ED Visits
                                                                                                                                    respiratory rate (61.8%, 95% CI, 59.9%-
                                                                                 No. of Unweighted              Weighted            63.8%) and blood pressure (34.2%, 95%
                                                                                  ED Visit Records              Proportion
                                                                                    (n = 30 087) a             (95% CI), %
                                                                                                                                    CI, 32.7%-35.8%), patients presented
           Disposition
                                                                                                                                    with abnormal heart rates at 21.8%
              Admitted to hospital or observation unit                                     4027              12.5 (11.8-14.3)       (95% CI, 20.8%-22.8%) of visits, were
               Discharged                                                                 25 190             82.4 (81.1-83.7)       hypoxic at 6.6% (95% CI, 5.3%-7.9%)
               Left against medical advice                                                  261                0.7 (0.6-0.9)        of visits, and were either hypothermic
               No answer                                                                    423                1.4 (1.2-1.6)        or hyperthermic at 6.1% (95% CI, 5.5-
               Transfer                                                                     461                1.3 (1.0-1.6)        6.7) of visits. The mode of arrival to the
               Left before or after medical screening examination                           441                1.5 (1.2-1.9)        ED for 13.8% (95% CI, 12.8%-14.8%)
               DOA/died in ED b                                                               24                                    of patients with nonemergency com-
           Admitted patients location                                                                                               plaints was by ambulance, and 38%
             Critical care unit                                                             413              11.2 (9.5-12.9)        (95% CI, 35.9%-40.1%) reported pain
               Stepdown/telemetry unit                                                      894              22.9 (18.4-27.4)       scales of 6 or higher (TABLE 2).
               Operating room                                                               158                3.4 (2.5-4.3)           Regarding disposition of patients
               Mental health/substance use detoxification                                   103                1.8 (1.1-2.6)        with nonemergency-complaint ED vis-
               Cardiac catheterization laboratory b                                           26                                    its, 12.5% (95% CI, 11.8%-14.3%) were
               Other bed/unit                                                              1677              40.5 (36.8-44.3)       admitted to the hospital. Of admitted
               Observation unit                                                             325                7.0 (5.7-8.4)        patients, 11.2% (95% CI, 9.5%-
               Location unknown                                                             431              12.5 (9.1-16.0)        12.9%) were admitted to a critical care
           Abbreviations: ED, emergency department; NHAMCS, National Hospital Ambulatory Medical Care Survey.
           a Number of records in the data set for each type of category (unweighted). Proportions, however, are calculated using
                                                                                                                                    unit, 22.9% (95% CI, 18.4%-27.4%) re-
              survey weights.                                                                                                       quired step-down or telemetry moni-
           b Fewer than 30 records is considered an imprecise record by the National Center for Health Statistics.
                                                                                                                                    toring, 3.4% (95% CI, 2.5%-4.3%) re-
                                                                                                                                    quired the operating room, and 7.0%
                                                                                                                                    (95% CI, 5.7%-8.4%) were admitted to
           Table 4. Ten Most Common Reasons for Visit for “Nonemergency Complaints” Associated                                      an observation unit (TABLE 3).
           With “Primary Care–Treatable” Diagnoses, NHAMCS 2009                                                                        There were 192 different primary
                                                                         No. of Unweighted                       Weighted           care–treatable diagnoses (eTable 3) and
                                                                          ED Visit Records                       Proportion
                          Reason for Visit                                   (n = 2212) a                       (95% CI), %         304 nonemergency complaints (eTable
           Toothache                                                             202                     10.05 (7.92-12.18)         4) represented. “Unspecified disorder
           Skin rash                                                             139                      5.99 (4.67-7.31)          of the teeth and gums” was the most
           Abdominal pain, cramps, spasms,                                         102                    5.03 (3.77-6.29)          common primary care–treatable diag-
              not otherwise specified                                                                                               nosis and accounted for 11.6% of ED
           Earache, pain                                                           103                    4.27 (3.46-5.08)          visits with primary care–treatable di-
           Fever                                                                    47                    2.24 (1.46-3.02)          agnoses. The 3 most common non-
           Uterine and vaginal bleeding                                             47                    2.23 (1.33-3.13)          emergency complaints (TABLE 4) were
           Hip pain, ache, soreness, discomfort                                     37                    2.04 (1.16-2.92)          toothache (10.05%); skin rash (5.99%);
           Diarrhea                                                                 49                    1.93 (1.19-2.67)          and abdominal pain, cramps, or spasms
           Chest pain                                                               34                    1.75 (0.86-2.64)          (5.03%); other nonemergency chief
           Other diseases of the skin                                              29 b                   1.51 (0.90-2.12)          complaints were as variable as skin itch-
           Other                                                                 1423                    62.96 (60.28-65.62)        ing, insect bite, ingrown nail, foreign
           Total                                                                 2212                      100
                                                                                                                                    body to eye, migraine headache, blood
           Abbreviations: ED, emergency department; NHAMCS, National Hospital Ambulatory Medical Care Survey.
           a Number of records in the data set for each type of category (unweighted). Proportions, however, are calculated using   in stool, and symptoms of labor. For pa-
              survey weights.
           b Fewer than 30 records is considered an imprecise record by the National Center for Health Statistics.                  tients with nonemergency-complaint
                                                                                                                                    ED visits, the 3 most common diagno-
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                                                                                              PRESENTING COMPLAINT VS DISCHARGE DIAGNOSIS


           ses identified were abdominal pain or         tinguish between information avail-                          diagnoses as nonemergency or as pri-
           unspecified site, acute respiratory in-       able at arrival in the ED and informa-                       mary care treatable in the way that
           fection, and chest pain, unspecified          tion available at discharge from the ED.                     policy makers have attempted to do.6
           (TABLE 5).                                    The results call into question reim-                         Instead, as the developers of the algo-
              Because our analysis was conducted         bursement policies that deny or limit                        rithm acknowledge, “few diagnostic cat-
           in aggregate, it was possible that a sub-     payment based on discharge diagno-                           egories are clear cut in all cases.”15 A
           set of primary care–treatable diagnoses       sis. Attempting to discourage patients                       discharge diagnosis related to a given
           might be concordant with chief com-           from using the ED based on the likeli-                       ED visit can be in each of multiple cat-
           plaints and thus appropriate targets for      hood that they would have nonemer-                           egories (based on the initial com-
           discouraging ED use. Therefore, we used       gency diagnoses risks sending away pa-                       plaint, vital signs, resources used in the
           the same techniques described above to        tients who require emergency care.31-36                      ED that have been mapped to the dis-
           analyze some of the most common pri-          The majority of Medicaid patients, who                       charge diagnosis),19 highlighting the
           mary care–treatable diagnoses individu-       stand to be disproportionately af-                           complexity of the issue.
           ally (unspecified disorder of the teeth and   fected by such policies, visit the ED for                       A limitation of this study is the choice
           supporting structures, diarrhea, and          urgent or more serious problems.37                           of the algorithm as the basis for classi-
           esophageal reflux). Each of these com-           Our results are in keeping with the                       fying ED visits as nonemergency. In
           mon diagnoses was associated with 20          original intention of the ED algo-                           theory, a different list of nonemer-
           or more nonemergency complaints. In           rithm, which does not classify specific                      gency diagnoses might correspond bet-
           turn, these nonemergency-complaint vis-
           its were associated with 29 to more than
                                                         Table 5. Twenty-five Most Common Discharge Diagnoses Associated With
           300 distinct discharge diagnoses with a       “Nonemergency-Complaint” ED Visits, NHAMCS 2009 a
           wide range of clinical severity, consis-                                                                          No. of Unweighted                 Weighted
           tent with our overall study findings.                                                                              ED Visit Records                 Proportion
                                                                                Diagnosis                                      (n = 30 827) a                 (95% CI), %
                                                         Abdominal pain, unspecified site                                           1068                    3.60 (3.23-3.97)
           COMMENT                                       Acute upper respiratory infections                                          842                    2.87 (2.51-3.23)
           Patients present to the ED with chief         Chest pain, unspecified                                                     862                    2.75 (2.41-3.09)
           complaints, symptoms, and signs, but          Sprains and strains, unspecified                                            733                    2.35 (2.07-2.63)
           not with discharge diagnoses. For a list      Fever, unspecified                                                          535                    2.04 (1.65-2.43)
                                                         Left before seen/walked out/not seen                                        594                    1.99 (1.60-2.38)
           of ED discharge diagnoses to be con-
                                                         Urinary tract infection, unspecified                                        535                    1.71 (1.52-1.90)
           sidered a nonemergency, the ED dis-
                                                         Unspecified otitis media                                                    500                    1.67 (1.37-1.97)
           charge diagnoses must be predictable
                                                         Headache                                                                    468                    1.53 (1.33-1.73)
           based on chief complaint information
                                                         Missing                                                                     258                    1.49 (0.19-2.79)
           available at triage. Our study illus-
                                                         Other unknown and unspecified cause of morbidity                            433                    1.46 (1.24-1.68)
           trates the challenges of mapping from             and mortality
           discharge diagnosis to chief com-             Pneumonia, organism unspecified                                               396                  1.37 (1.17-1.57)
           plaint. Although only 6.3% of ED visits       Acute pharyngitis                                                             405                  1.34 (1.18-1.50)
           had primary care–treatable discharge          Backache, unspecified                                                         341                  1.14 (0.94-1.34)
           diagnoses, the chief complaints reported      Bronchitis, not specified as acute or chronic                                 286                  1.02 (0.81-1.23)
           for these visits encompassed 88.7% of         Head injury, unspecified                                                      297                  1.00 (0.81-1.19)
           all ED visits. If a triage nurse were to      Other and unspecified noninfectious gastroenteritis                           319                  0.99 (0.82-1.16)
           redirect patients away from the ED               and colitis
           based on nonemergency complaints,             Lumbago                                                                       303                  0.98 (0.82-1.14)
           93% of the redirected ED visits would         Syncope and collapse                                                          297                  0.95 (0.79-1.11)
           not have had primary care–treatable di-       Vomiting alone                                                                278                  0.94 (0.80-1.08)
           agnoses. Adding vital signs to the de-        Acute bronchitis                                                              290                  0.92 (0.73-1.11)
           cision rule would add little discrimi-        Influenza with other respiratory manifestations                               254                  0.91 (0.64-1.18)
           natory power because 79.7% of ED              Other cellulitis and abscess                                                  245                   0.9 (0.71-1.09)
                                                         Migraine, unspecified                                                         257                  0.84 (0.56-1.12)
           visits with nonemergency complaints
                                                         Unspecified disorder of the teeth and supporting                              249                  0.82 (0.65-0.99)
           had abnormal vital signs, including                structures
           76.8% of ED visits with primary care–         Asthma, unspecified with acute exacerbation                                   251                  0.81
           treatable diagnoses and 80.0% with            Open wound of fingers                                                         247                  0.82
           other diagnoses.                              Abbreviations: ED, emergency department; NHAMCS, National Hospital Ambulatory Medical Care Survey.
                                                         a Number of records in the data set for each type of category (unweighted). Proportions, however, are calculated using
              These results highlight the flaws of
                                                            survey weights.
           a conceptual framework that fails to dis-
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           ter with chief complaints. We chose to        ED use through retroactive denial for                     Role of the Sponsor: The funding agencies did not par-
                                                                                                                   ticipate in the design and conduct of the study; col-
           use the ED algorithm because—                 nonemergency diagnoses.                                   lection, management, analysis, and interpretation of
           despite the intent of the algorithm’s de-        A complex interplay of community,                      the data; or preparation, review, or approval of the
                                                                                                                   manuscript
           velopers—the algorithm has been               patient, and health system factors in-                    Disclaimer: The data presented herein are solely the
           modified for this purpose and had been        fluence ED use.38-40 Strategies aimed                     responsibility of the authors and do not necessarily rep-
           developed more rigorously than other          narrowly at reducing such use are un-                     resent the official views of any of the funding agencies.
                                                                                                                   Online-Only Material: eTables 1 through 4 are avail-
           proposed nonemergency diagnosis lists.        likely to improve population health or                    able at http://www.jama.com.
               We used 2 methodological strate-          to reduce health system costs.41,42 In-                   Additional Contributions: We especially thank John
                                                                                                                   C. Billings, JD, for his thoughtful input, Amy J.
           gies to try to optimize the classifica-       stead, a more innovative and sustain-                     Markowitz, JD, for editorial assistance, and Nicole
           tion system. First, in selecting ED vis-      able path forward is through policies                     Gordon, BA, for her technical support; none of them
                                                                                                                   received any financial compensation for their contri-
           its with nonemergency diagnoses based         that allow for the creation of inte-                      butions.
           on the ED discharge diagnosis, we also        grated systems of health and commu-
           limited the visits to those that did not      nity care through which risk is shared                    REFERENCES
           result in hospital admission. Second, in      and resources are allocated rationally.
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           using the algorithm, we selected only         It is possible that other diagnosis lists                 Med. 2011;58(3):235-238.
           diagnoses that, in the algorithm clas-        may correspond better with chief com-                     2. Matthews AW Medicaid cuts rile doctors: hospitals
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                                                                                                                   room vistis. Wall Street Journal. February 25, 2012;
           ity of not requiring care in the ED. Had      gencies. Policymakers who are consid-                     Health Industry. http://online.wsj.com/article
           we chosen to classify visits less conser-     ering such approaches that involve lists                  /SB10001424052970204778604577241830930006856
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           ability (but not 0 probability) of needing    posed lists prior to implementation.                      from a 50-State Medicaid Budget Survey for State Fis-
           ED care in our sample—it is likely that          In conclusion, among ED visits with                    cal Years 2011 and 2012. Washington, DC: Kaiser Fam-
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           is likely to have worse performance than      noses suggests that these discharge                       /daily-reports/2012/february/08/states-medicaid
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                                                         Author Contributions: Drs Maelli and Hsia had full ac-    /Stories/2012/February/19/Hospitals-Demand-
           tion we used was the patient’s chief          cess to all of the data in the study and take respon-     Payment-Upfront-From-ER-Patients.aspx?utm_source
           complaint. It is possible that a combi-       sibility for the integrity of the data and the accuracy   =khn&utm_medium=internal&utm_campaign=
                                                         of the data analysis.                                     widget. Accessed Feb 11, 2013.
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                                                         Analysis and interpretation of data: All authors.         ary 22, 2013, 2013;Health.
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           rules based on chief complaint and vi-        tellectual content: All authors.                          -understanding the link. N Engl J Med. 2012;366
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                                                         the Emergency Medicine Foundation, as well as by          able online at http://www.modernhealthcare.com
           and information technology than cur-          grant KL2TR000143 from the National Center for            /Assets/pdf/CH78359227.PDF. Accessed January 16,
           rently exist. Given the lack of alterna-      Advancing Translational Sciences, National Institutes     2013.
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           will be further attempts to discourage        son Foundation Physician Faculty Scholars (Dr Hsia).      cedures manual. 2003;176:1-20. http://www.tmhp

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